Case 5:17-cv-02514-JGB-SHK Document 196 Filed 09/27/19 Page 1 of 2 Page ID #:2778
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. EDCV 17-02514-JGB (SHKx)                                          Date: September 27, 2019
  Title     Raul Novoa v. The GEO Group, Inc.




  Present: The Honorable:      Shashi H. Kewalramani, United States Magistrate Judge


            D. Castellanos                                               Court Smart
                   Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                Theodore W. Maya                                    Damien DeLaney



  Proceedings: DISCOVERY DISPUTE RE: MOTION TO COMPEL RESPONSES TO
  REQUESTS FOR PRODUCTION [ECF No. 179]


         The Court held a continued conference as previously scheduled regarding the remaining
  RFP issues. Attorney Theodore W. Maya appeared on behalf of Plaintiffs. Attorney Damien
  DeLaney appeared on behalf of Defendants. Following discussion between the Court and
  counsel, the parties agreed to the following RFPS:
             o RFP nos. 1-3: Withdrawn based on supplemental responses
             o RFP no. 4:        Tentatively withdrawn
             o RFP no. 6:        Tentatively withdrawn
             o RFP no. 7:        Tentatively withdrawn
             o RFP no. 8:        Withdrawn
             o RFP no. 10: The court takes the matter under submission for further ruling
             o RFP no. 13: Tentatively agreed to by Defendants
             o RFP no. 14: Tentatively agreed to by Defendants
             o RFP no. 15: The court takes the matter under submission for further ruling
             o RFP no. 16: Withdrawn
             o RFP no. 17: Withdrawn
             o RFP no. 18: Tentatively withdrawn
             o RFP no. 19: The court takes the matter under submission for further ruling
             o RFP no. 20: Withdrawn




  CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 5:17-cv-02514-JGB-SHK Document 196 Filed 09/27/19 Page 2 of 2 Page ID #:2779
                              UNITED STATES DISTRICT COURT
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          With respect to the RFPs for which Plaintiff tentatively withdrew motions to compel or
  objections tentatively withdrawn by Defendant, counsel are to notify the Court no later than
  October 7, 2019 regarding their final positions regarding the tentatively withdrawn RFPs and
  objections. The Court will then proceed accordingly with its further ruling.




                                                                                              :48
                                                                  Initials of Preparer   DC




  CV-90 (03/15)                         Civil Minutes – General                           Page 2 of 2
